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                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS


TRIN-CO. INVESTMENT CO., et al.     )
                                    )                  No. 11-857 L
                  Plaintiffs,       )
                                    )                  Hon. Edward J. Damich
            v.                      )
                                    )                  Electronically filed November 18, 2019
UNITED STATES OF AMERICA,           )
                                    )
                  Defendant.        )
____________________________________)

                 JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Rule of the Court of Federal Claims 41(a)(1)(ii), Plaintiffs in the above-

captioned action and Defendant the United States stipulate that the Complaint in the above captioned

action, see ECF No. 1, amended at ECF No. 19, is hereby dismissed with prejudice.

       Respectfully submitted,

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                                                    Deputy Assistant Attorney General
                                                    Environment & Natural Resources Division

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